    Case 1:24-cv-00248-JAO-RT Document 5 Filed 06/10/24 Page 1 of 1 PageID.237
                                                                                      FILED IN THE

                                 CV 24-00248 JAO-RT                          UNITED STATES DISTRICT COURT
                                                                                  DISTRICT OF HAWAII
                                                                                       Jun 10, 2024
                                                                             LUCY H. CARRILLO, CLERK OF COURT

                                                                             At 10 oclock and 54 min am




[U ]    ORDER SETTING RULE 16 SCHEDULING CONFERENCE

[]      ORDER SETTING STATUS CONFERENCE

        for Monday, August 5, 2024 at 9:00 a.m. before:


        [U]    Magistrate Judge Rom Trader via ZOOM Teleconference (Call:
               1-833-568-8864 / Access Code 161 5641 6035)

        []     Magistrate Judge Wes Reber Porter via ZOOM Teleconference (Call:
               1-833-568-8864 / Access Code: 161 0084 2470)

        []     Magistrate Judge Kenneth J. Mansfield via ZOOM Teleconference (Call:
               1-833-568-8864 / Access Code 160 8983 1896)

C       Parties are reminded that, unless otherwise ordered by the Court, a meeting of the
        parties must occur at least 21 days prior to the Scheduling Conference and a report
        submitted to the Court. Except as otherwise provided by L.R. 26.1(c), no formal
        discovery may be commenced before the meeting of the parties.
C       Each party shall file a Scheduling Conference Statement pursuant to L.R. 16.2(b),
        and shall attend in person or by counsel.
C       Failure to file and/or attend will result in imposition of sanctions, (including fines
        or dismissal), under Fed.R.Civ.P. 16(f) and L.R. 11.1.

DATED at Honolulu, Hawaii on Monday, June 10, 2024.

                                                           /s/ Derrick Watson
                                                          Chief, U.S. District Judge




THIS SCHEDULING ORDER IS ATTACHED TO THE INITIATING DOCUMENT
(COMPLAINT/NOTICE OF REMOVAL) & MUST BE SERVED WITH THE
DOCUMENT. PLEASE DO NOT REMOVE.
